      Case 24-20432           Doc 36-1       Filed 10/01/24        Entered 10/01/24 15:12:07              Page 1 of 1

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